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 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
 3   Phoenix, AZ 85012
 4
     602 445 9819
     866 565 1327 facsimile
 5   mmeyers@AttorneysForConsumers.com
 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Cathleen Fleming,                             ) Case No.
10
                                                   )
     Plaintiff,                                    ) COMPLAINT AND TRIAL BY JURY
11                                                 ) DEMAND
             vs.                                   )
12
                                                   )
13   Frederick J. Hanna & Associates, PC,          )
                                                   )
14
     Defendant.                                    )
15

16                                     NATURE OF ACTION
17
             1.    This is an action brought under the Fair Debt Collection Practices Act
18
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
19

20                                 JURISDICTION AND VENUE
21
             2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
22
     1331.
23

24           3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25
     the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
26
     Plaintiff resides in this district), and/or where Defendant transacts business in this district.
27

28




                                               Complaint - 1
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 1                                           PARTIES
 2
            4.     Plaintiff, Cathleen Fleming (“Plaintiff”), is a natural person who at all
 3

 4
     relevant times resided in the State of Arizona, County of Maricopa, and City of

 5   Goodyear.
 6
            5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 7

 8
            6.     Defendant, Frederick J. Hanna & Associates, PC (“Defendant”) is an entity

 9   who at all relevant times was engaged, by use of the mails and telephone, in the business
10
     of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
11
            7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
12

13                                 FACTUAL ALLEGATIONS
14
            8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
15
     owed or due, or asserted to be owed or due a creditor other than Defendant.
16

17          9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
18
     owed or due a creditor other than Defendant, arises from a transaction in which the
19
     money, property, insurance, or services that are the subject of the transaction were
20

21   incurred primarily for personal, family, or household purposes. Plaintiff incurred the
22   obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor
23
     other than Defendant.
24

25          10.    Defendant uses instrumentalities of interstate commerce or the mails in a

26   business the principal purpose of which is the collection of any debts, and/or regularly
27
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
28
     owed or due another.


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 1                          Messages from a non-existent “attorney.”
 2
            11.    Plaintiff received several voice mail messages from a caller identifying
 3

 4
     himself as “Richard Cole,” an attorney from the law offices of Frederick J. Hanna,

 5   requesting a return call at 866-375-4232. Plaintiff believed based on these messages that
 6
     when she returned the call, she would be speaking to an attorney. However, when
 7

 8
     Plaintiff returned the call, she was told that there was no “Richard Cole.”

 9                    Defendant harassed, oppressed and abused Plaintiff.
10
            12.    On July 8, 2010, Plaintiff answered a call from Defendants, and spoke with
11
     “Miss Johnson,” an employee of Defendant. Plaintiff told Miss Johnson that she wanted
12

13   to settle the debt, and could do it in two payments, or one lump sum of 30% of the debt.
14
     Miss Johnson transferred Plaintiff to her supervisor, “John Kreegan.”
15
            13.    Mr. Kreegan immediately informed Plaintiff that the settlement offer was
16

17   no longer valid. Plaintiff again stated that she wanted to settle, but needed to do it in two
18
     payments. Mr. Kreegan said he would only agree if Plaintiff gave him her bank account
19
     number. Plaintiff does not give her bank information over the phone and refused. Mr.
20

21   Kreegan became very angry, yelling and ranting at Plaintiff.
22          14.    Mr. Kreegan demanded that Plaintiff go to the Post Office and send him an
23
     envelope containing two post-dated checks, via Overnight Delivery, and immediately call
24

25   him with the tracking number.

26          15.    Plaintiff requested that Mr. Kreegan send her the offer in writing, and she
27
     would then mail the appropriate payments.            Mr. Kreegan refused to give Plaintiff
28
     anything in writing until after she sent payment.


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 1          16.    Mr. Kreegan began demanding that Plaintiff find a fax machine, i.e. at
 2
     Kinko’s or the library, so that he could fax the settlement offer to her. Plaintiff responded
 3

 4
     that she was not supposed to be driving due to her disability and the medication she has

 5   to take. Plaintiff told Mr. Kreegan that she did not understand his refusal to use the mail
 6
     to send a settlement agreement, and to receive her payment. Mr. Kreegan was so abusive
 7

 8
     and angry that the conversation reduced Plaintiff to tears.

 9          17.    On July 16, 2010, Plaintiff answered a call from Defendant, and Miss
10
     Johnson quickly transferred Plaintiff to Mr. Kreegan. Again, Mr. Kreegan demanded that
11
     Plaintiff give him her bank account information, and again he refused to provide any
12

13   written settlement offer through the mail. Again, he insisted that Plaintiff drive to a fax
14
     machine. He was rude and angry.
15
            18.    Plaintiff again told him that she would send the check through the U.S.
16

17   Mail, after she received a written settlement offer from him. He became incensed, and
18
     screamed about a deadline of July 26th, 2010. He yelled at Plaintiff, “Miss, you don’t
19
     seem to understand the definition of deadline!” Plaintiff had never heard of any deadline.
20

21   Plaintiff kept repeating that if Mr. Kreegan would send the offer in writing, she would
22   send payment by mail.        Mr. Kreegan kept pressuring her for her bank account
23
     information and referring to his self-imposed July 26th deadline.
24

25          19.    Mr. Kreegan’s abusive, oppressive, and harassing telephone calls so upset

26   Plaintiff that she was severely emotionally distressed, and could have endangered her and
27
     others by attempting to drive to a fax machine to satisfy his demands, despite her
28
     disability and medication which interferes with her ability to drive.


                                              Complaint - 4
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 1                      Defendant often called Plaintiff before 8:00 a.m.
 2
           20.    Defendant placed numerous calls to Plaintiff before 8:00 A.M., a time that
 3

 4
     Defendant knew to be inconvenient to Plaintiff, including but not limited to the following

 5   dates and times:
 6
           May 7, 2010          6:39 a.m.
 7

 8
           May 12, 2010         7:33 a.m.

 9         May 13, 2010         6:48 a.m.
10
           May 18, 2010         6:03 a.m.
11
           May 21, 2010         6:32 a.m.
12

13         June 2, 2010         5:43 a.m.
14
           June 21, 2010        7:24 a.m.
15
           June 22, 2010        6:56 a.m.
16

17         July 17, 2010        6:21 a.m.
18
           July 17, 2010        6:24 a.m.
19
           21.    On July 16, 2010, Plaintiff spoke with Miss Johnson, who acknowledged
20

21   that she was aware that she was calling Arizona.              In addition, Defendant’s
22   correspondence was addressed to Plaintiff’s Arizona residence. Defendant knew or had
23
     reason to know that Plaintiff was in the Arizona time zone, and that the above calls were
24

25   made before 8 a.m., Arizona time.

26   …
27
     …
28




                                             Complaint - 5
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 1   Defendant misled Plaintiff to believe it could take legal action, but Defendant is not
 2                          licensed to practice law in Arizona.

 3          22.   Defendant dunned Plaintiff on two separate alleged debts. On May 6,
 4
     2010, Defendant mailed one letter to Plaintiff demanding payment of $1,581.68, on
 5

 6
     account ending in -7790 (Debt #1), and a second letter demanding payment of $3,353.40,

 7   on account ending in -0408 (Debt #2).
 8
            23.   Defendant mailed a second set of dunning letters to Plaintiff on June 11,
 9
     2010, one for each of the two accounts. Plaintiff received a total of four letters from
10

11   Defendant, two on each account.
12
            24.   All four of Defendant’s letters are on law firm letterhead, entitled
13
     “Frederick J. Hanna & Associates, PC, Attorneys at Law,” bearing the names of ten
14

15   attorneys, without any notation as to the states in which those attorneys are licensed to
16
     practice.
17
            25.   The May 6, 2010 letters read, in pertinent part:
18

19                Please be advised that this law firm represents CHASE
                  BANK, N.A. in its effort to collect your delinquent debt as
20
                  shown above.       Please contact our office to make
21                arrangements to pay the unpaid balance.
                  ***
22                At this time, no attorney with this firm has personally
23                reviewed the particular circumstances of your account.
                  However if you fail to contact this office, our client may
24                consider additional remedies to recover the balance due.
25
                  Sincerely,
26

27
                  Frederick J. Hanna & Associates

28




                                             Complaint - 6
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 1           26.      Defendant sent written correspondence on Defendant’s law firm letterhead
 2
     to Plaintiff at Plaintiff’s Arizona residence, dated May 6, 2010 and June 11, 2010, stating
 3

 4
     that the Defendant represented an alleged creditor of the Plaintiff as its attorney.

 5           27.      Upon information and good-faith belief, no attorney named upon
 6
     Defendant’s letterhead is licensed to practice law in the state of Arizona. Defendant
 7

 8
     misled Plaintiff to believe that Defendant could take action against Plaintiff in its

 9   capacity as an attorney, when in fact, Defendant could not do so.                Defendant’s
10
     correspondence also made no reference to any affiliate that could do so, constituting a
11
     false representation that an individual is an attorney, a false representation of the level of
12

13   meaningful attorney involvement in the collection of an alleged debt, and a false
14
     representation and deceptive practice in connection with an attempt to collect an alleged
15
     debt.
16

17           28.      Defendant’s actions constitute conduct highly offensive to a reasonable
18
     person, and as a result of Defendant’s behavior Plaintiff suffered and continues to suffer
19
     injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or
20

21   emotional distress.
22                                              COUNT I
23
             29.      Plaintiff repeats and re-alleges each and every allegation contained above.
24

25           30.      Defendant violated the FDCPA in multiple ways, including but not limited

26   to the following:
27
                   a. Violating 15 U.S.C. § 1692c(a)(1) by contacting Plaintiff at any unusual
28
                      time or place or a time or place known or which should be known to be


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 1             inconvenient to the consumer, specifically, before 8:00 a.m. on multiple
 2
               occasions;
 3

 4
            b. Violating 15 U.S.C. §§ 1692e(3) and 1692e(10) by misleading Plaintiff to

 5             believe that Defendant could take action against Plaintiff in its capacity as
 6
               an attorney, when in fact, Defendant could not do so, falsely representing
 7

 8
               that an individual is an attorney, falsely representing the level of

 9             meaningful attorney involvement in the collection of an alleged debt, and
10
               using false representations and deceptive practices in connection with an
11
               attempt to collect an alleged debt.
12

13          c. Violating 15 U.S.C. §1692d by engage in any conduct the natural
14
               consequence of which is to harass, oppress, or abuse any person in
15
               connection with the collection of a debt, such as the use of obscene or
16

17             profane language or language the natural consequence of which is to abuse
18
               the hearer or reader, when Defendant’s representative screamed at Plaintiff
19
               during multiple phone calls, causing her extreme emotional distress.
20

21          d. Violating 15 U.S.C. §1692f by using unfair and unconscionable collection
22             tactics, including attempting to pressure Plaintiff, a disabled adult who
23
               could not drive, to get behind the wheel just to find a fax machine, and by
24

25             attempting to coerce Plaintiff into providing her bank account information

26             over the phone, refusing to accept payment by mail, and by refusing to
27
               document a settlement agreement in writing for Plaintiff’s security.
28




                                          Complaint - 8
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 1          e. Violating 15 U.S.C. §1692g where Defendant’s May 6, 2010 letters
 2
               overshadowed/contradicted the required advisement of Plaintiff’s right to
 3

 4
               dispute/validation.   Defendant’s letter overshadowed Plaintiff’s §1692g

 5             validation rights by the use of law firm letterhead complete with names of
 6
               ten attorneys, representing that Defendant law firm was representing the
 7

 8
               original creditor as its attorneys, that failure to pay could result in

 9             “additional remedies,” and failing to state that no attorneys were licensed to
10
               practice in Arizona; while at the same time stating that no attorney had
11
               reviewed the particular circumstances of Plaintiff’s account.           Such
12

13             contradiction would confuse and mislead the least sophisticated consumer
14
               to believe that legal action was possible and probable, and that the 30-day
15
               validation period required by §1692g was a futile exercise to be foregone.
16

17       WHEREFORE, Plaintiff prays for relief and judgment, as follows:
18
            a) Adjudging that Defendant violated the FDCPA;
19
            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
20

21             amount of $1,000.00;
22          c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
23
            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
24

25             action;

26          e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
27
               allowed under the law;
28




                                         Complaint - 9
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 1          f) Awarding such other and further relief as the Court may deem just and
 2
                proper.
 3

 4
                                      TRIAL BY JURY

 5       Plaintiff is entitled to and hereby demands a trial by jury.
 6
                Respectfully submitted this 15th day of November, 2010.
 7

 8
                               By: s/ Marshall Meyers
                               Marshall Meyers (020584)
 9                             WEISBERG & MEYERS, LLC
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                               866 565 1327 facsimile
12
                               mmeyers@AttorneysForConsumers.com
13                             Attorney for Plaintiff
14

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                                           Complaint - 10
